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 1   XAVIER BECERRA
     Attorney General of California
 2   MARK T. CUMBA
     Supervising Deputy Attorney General
 3   DONNA M. DEAN
     Deputy Attorney General
 4   State Bar No. 187104
      300 South Spring Street, Suite 1702
 5    Los Angeles, CA 90013
      Telephone: (213) 269-6509
 6    Fax: (916) 731-2120
      E-mail: Donna.Dean@doj.ca.gov
 7   Attorneys for the People of the State of California
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
     SOCHIL MARTIN,                               2:20-cv-01437-ODW-AS
12
                                  Plaintiff, THE PEOPLE OF THE STATE OF
13                                           CALIFORNIA’S EX PARTE
                       v.                    APPLICATION FOR LEAVE TO
14                                           EXCEED PAGE LIMITS FOR
     LA LUZ DEL MUNDO, an                    REPLY IN SUPPORT OF MOTION
15   unincorporated association, NAASÓN TO INTERVENE AND TO STAY
     JOAQUÍN GARCÍA, an individual,          CIVIL DISCOVERY DURING
16   EL CONSEJO DE OBISPOS, an               PENDENCY OF CRIMINAL
     unincorporated association,             PROCEEDINGS [DKT. No. 66];
17   INTERNATIONAL BEREA USA, an MEMORANDUM OF POINTS AND
     unincorporated association,             AUTHORITIES AND
18   GILBERTO GARCÍA GRANADOS, DECLARATION OF DONNA M.
     an individual, JOSE HERNANDEZ,          DEAN IN SUPPORT THEREOF
19   an individual, UZZIEL JOAQUÍN, an
     individual, SILVERIO CORONADO, Judge:                 Hon. Otis D. Wright, II
20   an individual, AURELIO
     ZAVALETA, an individual, JOSE           Trial Date: Not set
21   LUIS ESTRADA, an individual,            Action Filed: February 12, 2020
     JONATHAN MENDOZA, an
22   individual, ALMA ZAMORA DE
     JOAQUÍN, an individual,
23   BENJAMIN JOAQUÍN GARCÍA, an
     individual, RAHEL JOAQUÍN
24   GARCÍA, an individual, ADORAIM
     JOAQUÍN ZAMORA, an individual,
25   DAVID MENDOZA, an individual
     and DOES 1 through 10, inclusive,
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                                  Defendants.
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 1   TO ALL PARTIES AND TO THEIR RESPECTIVE ATTORNEYS OF
 2   RECORD:
 3            The People of the State of California hereby apply ex parte, pursuant to Local
 4   Rule 7-19, for an order permitting The People of the State of California’s Reply
 5   Memorandum of Points and Authorities in Support of Motion to Intervene and to
 6   Stay Civil Discovery During Pendency of Criminal Proceedings (Reply Brief) (Dkt.
 7   No. 66) to exceed the page limits set forth in this court’s Scheduling Order (Dkt.
 8   No. 39), on the grounds that: (1) the People’s Motion to Intervene and to Stay Civil
 9   Discovery During Pendency of Criminal Proceedings is essentially two motions in
10   one – a motion to intervene and a motion to stay discovery; (2) the Reply Brief had
11   to address two separate oppositions and a joinder with a separate declaration; and
12   (3) the Reply Brief is within the page limit set by Central District of California
13   Local Rule 11-6.
14            Ex parte relief is necessary given that the Reply Brief has already been filed
15   and the Motion to Intervene and to Stay Civil Discovery During Pendency of
16   Criminal Proceedings has been taken under submission; therefore, there is
17   insufficient time for a noticed motion. Even if counsel had sought leave to file an
18   overlength brief before the Reply Brief was filed, an ex parte application would
19   have been necessary because there would not have been sufficient time to file a
20   noticed motion seeking leave to file an overlength brief, and, based on defendants’
21   objections and responses to the notice of the ex parte application, defendants would
22   not have stipulated to the overlength brief. Dkt. No. 71; Dean Decl., ¶ 11, Exs. 3
23   and 4.
24        Counsel for all parties (who are listed in the attached declaration) were
25   provided notice of this ex parte application via email on June 30, 2020. Dean Decl.,
26   ¶¶ 5-9, Ex. 1. Counsel for plaintiff indicated that plaintiff would not oppose the ex
27   parte application. Id. at ¶ 10, Ex. 2. Counsel for Defendants Jose Hernandez,
28   Silverio Coronado, Aurelio Zavaleta, Uzziel Joaquin, Jonathan Mendoza, David
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 1   Mendoza, Benjamin Joaquin Garcia and Jose Luis Estrada and counsel for
 2   Defendants Communication Center Berea U.S.A. LLC, Alma Elizabeth Joaquin,
 3   and Adoraim Josadac Joaquin indicated that these defendants would oppose the ex
 4   parte application. Id. at ¶ 11, Exs. 3 and 4. Counsel for Defendant Garcia did not
 5   respond. Id. at ¶ 11.
 6         This application is based on this notice and application, the attached
 7   memorandum of points and authorities, the attached declaration of Donna M. Dean,
 8   the pleadings and other papers on file in this action, and all matters of which the
 9   court may take judicial notice.
10
     Dated: July 1, 2020                           Respectfully submitted,
11
                                                   XAVIER BECERRA
12                                                 Attorney General of California
                                                   MARK T. CUMBA
13                                                 Supervising Deputy Attorney General
14
                                                   /s/ Donna M. Dean
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                                                   DONNA M. DEAN
16                                                 Deputy Attorney General
                                                   Attorneys for the People of the State of
17                                                 California
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2                                    INTRODUCTION
 3        The People of the State of California seek leave to intervene in this civil action
 4   solely for the limited purpose of staying discovery and disclosure of witnesses until
 5   the pending criminal matter against Defendant Naasón Garcia and others – People
 6   v. Garcia et al., Los Angeles Superior Court Case No. BA475856 – is resolved by
 7   way of a judgment of conviction, acquittal, or dismissal with prejudice. The People
 8   seek to intervene and stay discovery because there are overlapping issues of fact
 9   and law in the criminal case pending before the Los Angeles Superior Court and
10   this civil action, and the victims and witnesses in the criminal matter – whose
11   identities are protected by court order – will likely be the subject of discovery in
12   this case. Accordingly, on June 12, 2020, the People filed a Motion to Intervene
13   and to Stay Civil Discovery During Pendency of Criminal Proceedings (Motion to
14   Intervene and Stay Discovery). Dkt. No. 50. The Motion to Intervene and Stay
15   Discovery addressed the bases of, and analyzed the factors to support, the People’s
16   request to intervene as of right, the People’s request for permissive intervention,
17   and the People’s request to stay discovery. Id.
18        On June 22, 2020, Defendants Jose Hernandez, Silverio Coronado, Aurelio
19   Zavaleta, Uzziel Joaquin, Jonathan Mendoza, David Mendoza, Benjamin Joaquin
20   Garcia and Jose Luis Estrada filed a 25-page opposition to the Motion to Intervene
21   and Stay Discovery, along with a supporting declaration and a request for judicial
22   notice. Dkt. Nos. 57, 58, and 59. Defendants Communication Center Berea U.S.A.
23   LLC, Alma Elizabeth Joaquin, and Adoraim Josadac Joaquin filed a nine-page
24   opposition, a supporting declaration, and numerous evidentiary objections on June
25   22, 2020. Dkt. No. 61. In addition, on June 22, 2020, Defendant Naason Garcia
26   filed a joinder in the oppositions filed by the other defendants along with a
27   supporting declaration. Dkt. No. 60. Defendants opposed the People’s request to
28   intervene – both as of right and permissively – and opposed the stay. Dkt. Nos. 57-
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 1   61.
 2         On June 29, 2020, the People filed a Reply Memorandum of Points and
 3   Authorities in Support of Motion to Intervene and to Stay Civil Discovery During
 4   Pendency of Criminal Proceedings (Reply Brief) (Dkt. No. 66). The Reply Brief is
 5   22 pages long, which is within the page limit set by Central District of California
 6   Local Rule 11-6, but exceeds the court’s page limit for reply briefs set forth in its
 7   Scheduling Order (Dkt. No. 39). The page limit in the court’s Scheduling Order
 8   was first brought to counsel’s attention when Defendants’ filed and objection to the
 9   overlength reply brief (Dkt. No. 71). Dean Decl., ¶ 4. Even if counsel for the
10   People had been aware of this page limit before filing the Reply Brief, an ex parte
11   application would have been necessary because there would not have been
12   sufficient time to file a noticed motion seeking leave to file an overlength brief,
13   and, based on defendant’s objections and responses to the notice of the ex parte
14   application, defendants would not have stipulated to the overlength brief.
15                                       ARGUMENT
16         Good cause exists for filing a reply brief that exceeds the page limits in the
17   Scheduling Order for the following reasons:
18         (1) The People’s Motion to Intervene and to Stay Civil Discovery During
19   Pendency of Criminal Proceedings is essentially two motions in one – a motion to
20   intervene and a motion to stay discovery. The motion to intervene addressed all of
21   the factors for intervention as of right and permissive intervention, and the motion
22   to stay discovery addressed all of the factors pursuant to Keating v. Office of Thrift
23   Supervision, 45 F.3d 322, 324 (9th Cir. 1995). These motions could have been
24   brought as separate motions, but, for the convenience of the parties and the court,
25   they were brought in one motion given that the sole purpose for the People’s
26   request to intervene is to stay discovery – not to become a full litigant in the case.
27         (2) The Reply Brief had to address two separate oppositions totaling 34
28   pages, evidentiary objections, and a joinder with a separate declaration. Defendants
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 1   opposed every aspect of the Motion to Intervene and Stay Discovery and proposed
 2   an alternative to a complete stay of discovery, all of which had to be addressed in
 3   the reply. In addition, defendants raised several unsupported factual arguments that
 4   required responses. Accordingly, the People need additional pages to address all of
 5   the issues and arguments raised in defendants’ oppositions.
 6        (3) The Reply Brief is within the page limit set by Central District of
 7   California Local Rule 11-6.
 8                                     CONCLUSION
 9        This court’s scheduling order limits a reply brief to 12 pages absent leave of
10   court. Because the People’s Motion to Intervene and Stay Discovery consisted of
11   two motions combined into one, and because of the extensive arguments the People
12   had to address in their Reply Brief, the People respectfully request that the court
13   grant this application and accept their 22-page Reply Brief (Dkt. No. 66).
14   Dated: July 1, 2020                           Respectfully submitted,
15                                                 XAVIER BECERRA
                                                   Attorney General of California
16                                                 MARK T. CUMBA
                                                   Supervising Deputy Attorney General
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18                                                 /s/ Donna M. Dean
19                                                 DONNA M. DEAN
                                                   Deputy Attorney General
20                                                 Attorneys for the People of the State of
                                                   California
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 1                        DECLARATION OF DONNA M. DEAN
 2        I, Donna M. Dean, declare as follows:
 3        1.    I am a duly appointed Deputy Attorney General and am assigned to
 4   represent the People of the State of California in the above-entitled action. The
 5   facts set forth herein are within my personal knowledge, except where otherwise
 6   indicated, and if called to testify herein I could and would competently testify
 7   thereto.
 8        2.    On June 29, 2020, I caused to be filed The People of the State of
 9   California’s Reply Memorandum of Points and Authorities in Support of Motion to
10   Intervene and to Stay Civil Discovery During Pendency of Criminal Proceedings
11   (Reply Brief) (Dkt. No. 66). The Reply Brief is 22 pages long, which is within the
12   page limit set by Central District of California Local Rule 11-6, but exceeds the
13   court’s page limit for reply briefs set forth in its Scheduling Order (Dkt. No. 39).
14        3.    The page limit in the court’s Scheduling Order was first brought to my
15   attention when Defendants’ filed an objection to the overlength reply brief on June
16   30, 2020 (Dkt. No. 71). I acted as quickly as possible to address this issue with the
17   court as soon as I learned of my oversight.
18        4.    Good cause exists for filing a reply brief that exceeds the page limits in
19   the Scheduling Order because: (a) the People’s Motion to Intervene and to Stay
20   Civil Discovery During Pendency of Criminal Proceedings is essentially two
21   motions in one – a motion to intervene and a motion to stay discovery; and (b) the
22   Reply Brief had to address two separate oppositions with supporting documents and
23   a joinder with a separate declaration. Thus, additional pages were needed to
24   address all of the issues raised in the oppositions.
25        5.    Plaintiff Sochil Martin is represented by Jennifer Elizabeth Stein and
26   Michael George Finnegan of Jeff Anderson and Associates PA, 11812 San Vicente
27   Boulevard, No. 503, Los Angeles, CA 90049, 310-357-2425, Fax: 651-297-6543,
28   Email:Jennifer@andersonadvocates.com and Mike@andersonadvocates.com and
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 1   Deborah S. Mallgrave, Greenberg Gross LLP, 601 South Figueroa Street, 30th
 2   Floor, Los Angeles, CA 90017, 213-334-7000, Fax: 213-334-7001,
 3   Email:Dmallgrave@ggtriallaw.com
 4        6.      Defendant Naason Garcia is represented by Caleb E. Mason and Alan
 5   Jackson, Werksman Jackson and Quinn LLP, 888 West Sixth Street, Fourth Floor,
 6   Los Angeles, CA 90017, 213-688-0460, Fax: 213-624-1942, Email:
 7   Cmason@werksmanjackson.com and ajackson@werksmanjackson.com.
 8        7.      Defendants Communication Center Berea U.S.A. LLC, erroneously sued
 9   as International Berea USA, Alma Elizabeth Joaquin, erroneously sued as Alma
10   Zamora De Joaquin, and Adoraim Josadac Joaquin, erroneously sued as Adoraim
11   Joaquín Zamora are represented by Reed T. Aljian and Rochelle Calderon Rotea,
12   Daily Aljian LLP, 100 Bayview Circle, Suite 5500, Newport Beach, CA 92660,
13   949-861-2524, Fax: 949-269-6364, Email:Ra@dallp.com and rochelle@dallp.com.
14        8.      Defendants Jose Hernandez, Silverio Coronado, Aurelio Zavaleta, Uzziel
15   Joaquin, Jonathan Mendoza, David Mendoza, Benjamin Joaquin and Jose Luis
16   Estrada are represented by Ethan J. Brown and Geoffrey A. Neri, Brown Neri
17   Smith and Khan LLP, 11601 Wilshire Boulevard, Suite 2080, Los Angeles, CA
18   90025, 310-593-9890, Fax: 310-593-9980, Email:Ethan@bnsklaw.com and
19   Geoff@bnsklaw.com.
20        9.      On June 30, 2020, I sent an email message to counsel for all parties
21   advising of the People’s intention to file an ex parte application requesting leave to
22   file an overlength reply brief. A true and correct copy of my email message dated
23   June 30, 2020 is attached hereto as Exhibit 1.
24        10. On July 1, 2020, I received an email message from counsel for plaintiff
25   indicating that plaintiff would not oppose this ex parte application. A true and
26   correct copy of the email message from Deborah Mallgrave is attached hereto as
27   Exhibit 2.
28   //
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 1        11. On July 1, 2020, I received email messages from counsel for Defendants
 2   Jose Hernandez, Silverio Coronado, Aurelio Zavaleta, Uzziel Joaquin, Jonathan
 3   Mendoza, David Mendoza, Benjamin Joaquin Garcia and Jose Luis Estrada and
 4   counsel for Defendants Communication Center Berea U.S.A. LLC, Alma Elizabeth
 5   Joaquin, and Adoraim Josadac Joaquin stating that these defendants would oppose
 6   the ex parte application. True and correct copy of these email messages are
 7   attached hereto as Exhibits 3 and 4. Counsel for Defendant Garcia did not respond.
 8        I declare under penalty of perjury under the laws of the United States of
 9   America that the foregoing is true and correct.
10         Executed on July 1, 2020, at Los Angeles, California.
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                                                  /s/ Donna M. Dean
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